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United States Court of Appeals
For the First Circuit

No. 08-2107

Vv Plaintiffs, Appellees,

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Vv.

SYLVIA DIFFENDERFER, ET AL.,

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GERARDO CRUZ-MALDONADO,

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Defendant, Appellant, BS on
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RAMON E. GOMEZ-COLON, ET AL., ~ <

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Defendants.

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Lynch, Chief Judge,
Torruella and Howard, Circuit Judges.

JUDGMENT
Entered: September 4, 2008

In their response to appellant's motion for a stay pending
appeal, plaintiffs have moved to dismiss the appeal on the ground
that Gerardo Cruz-Maldonado, the only party who has filed a notice
of appeal, lacks standing to appeal from the district court's
order. We agree. As a single member of the Commission,
Commissioner Cruz-Maldonado has no personal stake in the outcome
and no damages were awarded against him. He therefore lacks
standing to appeal, and we lack jurisdiction in this case. See

Bender v. Williamsport Area School District, 475 U.S. 534, 543
{1L986).

Dismissed. lst Cir. R. 27.0(c).

By the Court:

/a/f Richard Cushing Donovan, Clerk.

cc:

Juan Jose Nolla-Acosta, Noel Gonzalez-Miranda, Michael C. McCall,
Emil J. Rodriguez-Escudero, Jorge Martinez-Luciano, Simone Cataldi-
Malpica, Fliezer Aldarondo-Ortiz, Claudio Aliff-Ortiz, Sheila J.
Torres-Delgado, Ivan M. Castro-Ortiz, Carmen E. Torres-Rodriguez

